       Case: 4:20-cv-00662-AGF Doc. #: 1 Filed: 05/18/20 Page: 1 of 8 PageID #: 1



RECEIVED
                                 UNITED STATES DISTRICT COURT
 MAY· 18 2020                    EASTERN DISTRICT OF MISSOURI
                                                    DIVISION
 BY MAIL                            ~~~~~~~~




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  Plaintiffls),   ';So'-{ ·IJL(,nl~                     )
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    ~c h'-'ol \'") 1~+'(\ L c...-\-                     )           (to be assigned by Clerk ofDistrict Court)
                                                        )
                                                        )
                                                        )       JURY TRIAL DEMANDED
                                                        )
                                                        )
  Defendant(s). (Enter above the full name(s)           )
  of all defendants in this lawsuit. Please             )
  attach additional sheets if necessary.)               )


                       EMPLOYMENT DISCRIMINATION COMPLAINT

          1.       This employment discrimination lawsuit is based on (check only those that apply):


          Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §§ 2000e, et seq., for
          employment discrimination on the basis ofrace, color, religion, gender, or national origin.
          NOTE: In order to bring suit in federal district court under Title VII, you must first obtain
          a right-to-sue letter from the Equal Employment Opportunity Commission.

          Age Discrimination inEmploymentActof1967, as amended, 29 U.S.C. §§ 621, et seq., for
          employment discrimination on the basis of age (age 40 or older).
          NOTE: In order to bring suit in federal district court under the Age Discrimination in
          Employment Act, you must first file charges with the Equal Employment Opportunity
          Commission.

   V      Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101, et seq.,
          for employment discrimination on the basis of disability.
          NOTE: In order to bring suit in federal district court under the Americans with
          Disabilities Act, you must first obtain a right-to-sue letter from the Equal Employment
          Opportunity Commission.
    Case: 4:20-cv-00662-AGF Doc. #: 1 Filed: 05/18/20 Page: 2 of 8 PageID #: 2




      Rehabilitation Act of 1973, as amended, 29 U.S.C. §§ 701, et seq., for employment
      diScrimination on the basis of a disability by an employer which constitutes a program or
      activity receiving federal financial assistance.
      NOTE: In order to bring suit in federal district court under the Rehabilitation Act of 1973,
      you mustfirst file charges with the appropriate Equal Employment Office representative or
      agency.

V      Other (Describe)   hf rol1 ~ .\'. ~ ll Y       1 e. V' IA'\   I ""- 4   ~ LD /."\




                                            PARTIES

       2.     Plaintiffs name:   °"t5o'{ Nu/!l/eA.(
              Plaintiffs address:   'D '1 D Lb<jD 1~ b r.
                                          Street address or P.O. Box


                                          City/ County/ State/Zip Code


                                          Area code and telephone number

       3.     Defendant'sname:      Fe~<A.Son - f-/oc,'>~~l'kt= Sc.ho1.JI l)l'S-./-ri'c.A-
              Defendant's address:   '8~fiS /)tAV)fl                   gcL
                                          Street address or P.O. Box


                                          City/County/State/ Zip Code

                                       3) l/ 68 7 - I 9 3 D
                                                  J

                                          Area code and telephone number

NOTE: IF THERE ARE ADDITIONAL PLAINTIFFS OR DEFENDANTS, PLEASE
PROVIDE THEIR NAMES, ADDRESSES AND TELEPHONE NUMBERS ON A
SEPARATE SHEET OF PAPER.


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   Case: 4:20-cv-00662-AGF Doc. #: 1 Filed: 05/18/20 Page: 3 of 8 PageID #: 3




        4.     If you are claiming that the discriminatory conduct occurred at a different location,
please provide the following information:

(Street Address)                     (City/County)                     (State)   (Zip Code)

        5.      When did the discrimination occur? Please give the date or time period:




                              ADMINISTRATIVE PROCEDURES

        6.      Did you file a charge of discrimination against the defendant(s) with the Missouri

Commission on Human Rights?

        _D_Yes

         ff No
        7.      Did you file a charge of discrimination against the defendant(s) with the Equal

Employment Opportunity Commission or other federal agency?

                      Date filed:   l)e.<!temJoec        ao,    I
                                                                    2,6/<f


        8.      Have you received a Notice of Right-to-Sue Letter?

                                                         I      l_No

If yes, please attach a copy of the letter to this complaint.

        9.      If you are claiming age discrimination, check one of the following:

       _ _60 days or more have passed since I filed my charge of age discrimination with the

Equal Employment Opportunity Commission.

       _ _ fewer than 60 days have passed since I filed my charge ofage discrimination with the

Equal Employment Opportunity Commission.


                                                   3
Case: 4:20-cv-00662-AGF Doc. #: 1 Filed: 05/18/20 Page: 4 of 8 PageID #: 4




                              NATURE OF THE CASE

 10.      The conduct complained of in this lawsuit involves (check only those that apply):

                failure to hire me

           V    termination of my employment

         ·__ failure to promote me

          __ failure to accommodate my disability

          __ termsandconditionsofmyemploymentdifferfromthoseofsimilaremployees

                retaliation

                harassment

           ~ other conduct (specify):




   Did you complain about this same conduct in your charge of discrimination?

           ~Yes                                _Q_No




                                           4
   Case: 4:20-cv-00662-AGF Doc. #: 1 Filed: 05/18/20 Page: 5 of 8 PageID #: 5




       11.     I believe that I was discriminated against because of my (check all that apply):

                      race

                      religion

                      national origin

                      color

                      gender

               ~      disability

                      age (birth year is:                   )

                /     other:



       Did you state the same reason(s) in your charge of discrimination?

                [2]Yes                                 I   l_No

        12.      State here, as briefly and clearly as possible, the essential facts of your claim.
Describe specifically the conduct that you believe is discriminatory and describe how each defendant
is involved in the conduct. Take time to organize your statement; you may use numbered paragraphs
if you find it helpful. It is not necessary to make legal arguments, or to cite cases or statutes.




(Continue to page 6, if additional space is needed.)


                                                 5
    Case: 4:20-cv-00662-AGF Doc. #: 1 Filed: 05/18/20 Page: 6 of 8 PageID #: 6




            13.   The acts set forth in paragraph 12 of this complaint:

                  D_ are still being committed by the defendant.
                  f i are no longer being committed by the defendant.
                  f i may still be being committed by the defendant.
                                      REQUEST FOR RELIEF

         State briefly and exactly what you want the Court to do for you. Make no legal arguments;
                                              )I'~~                       .
 cite no cases or statutes. X.. We>u lei i-o i::hoc.......J. {-~                   +.
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   vY\ "{    +e...r- m ~ V\.A...r~l'u "'"·, Lo S s      k.> ~-5e...s      l7t;.~d_ '4--o iv/~, 'lJYi<Lvvt~b.tlJBe,~




         14.    Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of
my knowledge, information, and belief that this complaint: (1) is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of
litigation; (2) is supported by existing law or by a nonfrivolous argument for extending,
modifying, or reversing existing law; (3) the factual contentions have evidentiary support or, if
specifically so identified, will likely have evidentiary support after a reasonable opportunity for
further investigation or discovery; and (4) the complaint otherwise complies with the requirements
of Rule




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    Case: 4:20-cv-00662-AGF Doc. #: 1 Filed: 05/18/20 Page: 7 of 8 PageID #: 7




       I agree to provide the Clerk's Office with any changes to my address where case-related

papers may be served. I understand that my failure to keep a current address on file with the Clerk's

Offi".e may result in the dismissal of my case.

       I declare under penalty of perjury that the foregoing is true and correct.

                       Signed this   I~ 1-h day of_-#-M/IA'-"'~L-1'-"<'f'-------'   20   tl {)
                       Signature of Plaintiff      fJ-lfl~




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 Case: 4:20-cv-00662-AGF Doc. #: 1 Filed: 05/18/20 Page: 8 of 8 PageID #: 8




On October 11,2019 kitchen manager Karen Davis accused me of calling her a fat bitch in front of
serving kids she said she read my lips and heard me and I have ten minutes. Less in ten minutes
antonio adams food service director walk in . Karen called me to office she began yelling at me about
not wearing hair net and gloves told her I always have them on she said I was not clocking in and out on
time. She asked me about my relationship with a temp worker samuel Howard who was later
transferred to another school. I told her I liked him so did the other ladies he was very helpful to us until
he started threatening me and the other ladies I didn't like him anymore. I asked Karen what this have
to do about the name you accuse me of calling you. She said she didn't care about our relationship and
to respect her. I tried to say something antonio cut me off told me the district will be going in another
direction and go back to work he closed door behind me tC) talk more with Karen. Minutes later antonio
came out the office I was serving a few kids in line he walked over to angel burchett she was working the
cash register talked to her and left. When I left work for the day walking to the bus stop antonio drove
by me heading to the school.



On october 14, 2019 Antonio adams and pricilla urban ferguson-florissant school district secretary
arrived at the school Karen called me to office antonio and pricilla said I was terminated. I wanted to
explain I didn't call Karen the name she accused me of calling her they didn't listen to me. Pricilla said
should have been gone a long time ago antonio said I am not a good fit to work for ferguson florissant
school district clear out my locker pricilla said she will contact my job coach to let him know I was
terminated. Antonio and pricilla walk me out the door.

I called human resource department and spoke with Donna Troy saying I was wrongfully terminated
could I explain what happened. She said submit it to her in writing and she was sending me my
termination letter.
